      Case 3:17-cv-00031-N Document 1-3 Filed 01/04/17            Page 1 of 20 PageID 9


AMI.23218
                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

JANICE WOODS,                                    §
                                                 §
              Plaintiff,                         §
                                                 §
vs.                                              §
                                                 §       Case No. ___________________
AMICA MUTUAL INSURANCE                           §
COMPANY,                                         §
                                                 §
              Defendant.                         §


                           DEFENDANT’S INDEX OF DOCUMENTS

        The following Exhibits (A-C) are relied upon and incorporated by reference in

Defendant’s Notice of Removal:


        A.    Civil Cover Sheet;
        B.    Supplemental Cover Sheet;
        C.    Index of Documents;
              1.     State Court Docket Sheet;

              2.     Plaintiff’s Original Petition, filed November 21, 2016;

              3.     Civil Case Information Sheet, filed November 21, 2016;

              4.     Citation on AMICA, issued November 21, 2016;

              5.     Return of Service for AMICA, dated December 6, 2016;

              6.     Defendant AMICA’s Original Answer, filed December 21, 2016; and

              7.     Defendant’s Motion for Leave to Designate Responsible Third Party filed
                     January 4, 2017.




DEFENDANT’S INDEX OF DOCUMENTS – Solo Page
               Case 3:17-cv-00031-N Document 1-3 Filed 01/04/17                     Page 2 of 20 PageID 10




Case Information

CC-16-05879-A I JANICE WOODS vs. AMICA MUTUAL INSURANCE COMPANY

Case Number                            Court                           File Date
CC-16-05879-A                          County Court at Law No. 1       11/21/2016
Case Type                              Case Status
DAMAGES (COLLISION)                    OPEN




Party

PLAINTIFF              Active Atlorneys •
WOODS, JANICE          Lead Attorney
Address                WATSON, PATRICK R
870 W. Interstate 30   Retained
N/A                    Work Phone
Garland TX 75043       214-528-6060

                       Fax Phone
                       214-528-0712




DEFENDANT                                      Active Attorneys •
AMICA MUTUAL INSURANCE COMPANY                 Lead Attorney
Address                                        BENNETT, PAUL WILLIAM
SERVE ITS REG AGENT:ROBERT R FOSS, JR.         Retained
2150 TOWN SQUARE PLACE, SUITE 600              Work Phone
SUGAR LAND TX 77479-1465                       214-987-9600

                                               Fax Phone
                                               214-987-9866




Events and Hearings


   11/2112016 NEW CASE FILED (OCA)


   11/21/2016 CORRESPONDENCE· LETTER TO FILE •


  COVER LETTER


   11/21/2016 CIVIL CASE INFORMATION SHEET •
              Case 3:17-cv-00031-N Document 1-3 Filed 01/04/17
   CIVIL CASE INFORMATION SHEET
                                                                                                     Page 3 of 20 PageID 11
      Comment
      CIVIL CASE INFORMATION SHEET


   11/21/2016 ORIGINAL   PETITION~



   PLAINTIFF'S ORIGINAL PETITION

     Comment
     PLAINTIFF'S ORIGINAL PETITION


   11/21/20161SSUE CITATION~


   ISSUE CITATION


   12/01/2016 CITATION   (SERVICE)~



   Anticipated Server
   ATTORNEY

   Anticipated Method
   Actual Server
   PRIVATE PROCESS SERVER

  Returned
  12/13/2016
  Comment
  PLACED IN BEST &ASSOC BOX12!1/16


   12/13/2016 RETURN OF SERVICE~


  RETURN OF SERVICE


  12/21/20Hi OHIGINALANSWER       ~



  DEFENDANT'S ORIGINAL ANSWER


  12/21/2016 JURY TRIAL DEMAND


  01/04/2017 MOTION- LEAVE    ~



  DEFENDANTS MOTION FOR LEAVE TO DESIGNATE RESPONSIBLE THIRD

     Comment
     DEFENDANT'S MOTION FOR LEAVE TO DESIGNATE RESPONSIBLE THIRD PARTY




Financial

WOODS, JANICE
     Total Financial Assessment                                                                   $280.00
     Total Payments and Credits                                                                   $280.00


 11/21/2016     Transaction Assessment                                                $280,00

 11/21/2016     CREDIT CARD- TEXFILE (CC)   Receipt# CV-2016-14096   WOODS, JANICE   ($280.00)
AMICA MUTUAL INSURANCE COMPANY
     Total Financial Assessment                                                                    $40.00
     Total Payments and Credits                                                                    $40.00


 12/21/2016     Transaction Assessment                                                            $40.00

 12/21/2016     CREDIT CARD- TEXFILE (CC)   Receipt# CV-2016-15246   AMICA MUTUAL INSURANCE      ($40.00)
                                                                     COMPANY
          Case 3:17-cv-00031-N Document 1-3 Filed 01/04/17    Page 4 of 20 PageID 12

Documents


 COVERLETIER

 CIVIL CASE INFORMATION SHEET

 PLAINTIFF'S ORIGINAL PETITION

 ISSUE CITATION

 RETURN OF SERVICE

 DEFENDANT'S ORIGINAL ANSWER

 DEFENDANTS MOTION FOR LEAVE TO DESIGNATE RESPONSIBLE THIRD
                                                                                                                    FILED
                                                                                                   11/21/2016 11:06:53 AM
                                                                                                        JOHN F. WARREN
      Case 3:17-cv-00031-N Document 1-3 Filed 01/04/17                 Page 5 of 20 PageID       13       COUNTY CLERK
                                                                                                         DALLAS COUNTY



                                       Cause No.CC-16-05879-A
                                                ---
JANICE WOODS                                      §                    IN THE COUNTY COURT
                                                  §
                                                  §
vs.                                               §                            ATLAWNO. _ _
                                                  §
                                                  §
AMICA MUTUAL INSURANCE COMPANY §                                     DALLASCOUNTY,TEXAS

                             PLAINTIFF'S ORIGINAL PETITION
        NOW COMES Plaintiff Janice Woods, complaining ofDefendant Arnica Mutual Insurance

Company, and for causes of action would respectfully show the Court as follows:

                                DISCOVERY CONTROL PLAN
        l.      Plaintiffaffirmatively pleads that she seeks monetary reliefin excess of$1 00,000.00,

but no more than $200,000.00; excluding costs, pre-judgment interest, and attorney's fees. Discovery

is to be conducted under Level 3, Tex. R. Civ. P. 190.4.

                                             PARTIES
        2.      Plaintiff is an individual resident of Dallas County, Texas.

        3.      Defendant Arnica Mutual Insurance Company is an insurance corporation authorized

to do business in the State ofTexas, and may be served with process by serving its registered agent

for service of process, Robert R. Foss, Jr., 2150 Town Square Place, Suite 600, Sugar Land, Texas

77479-1465.

                                              VENUE
        4.      Venue is proper in Dallas County, Texas; as all or part of Plaintiffs causes action

accrued here.

                                         JURISDICTION
        5.      Plaintiff seeks damages within the jurisdictional minimum of this Court.




Plaintiffs Original Petition- Page 1
     Case 3:17-cv-00031-N Document 1-3 Filed 01/04/17                   Page 6 of 20 PageID 14


                                               FACTS
        6.     On or about January 19, 2016, Plaintiff Janice Woods was traveling northbound on

Noel Trail in Dallas, Dallas County, Texas. Maria De Los Angeles Prado, traveling immediately

behind Plaintiff was struck in the rear by an unknown vehicle, causing Maria De Los Angeles Prado

to collide with Plaintiffs vehicle, damaging Plaintiff's vehicle and inflicting injury upon Plaintiff.

The collision and Plaintiffs injuries were proximately caused by the negligence of the unknown

driver in the following respects:

               (a)     Failure to keep a proper lookout;

               (b)     Failure to maintain proper control of the vehicle;

               (c)     Failure to sufficiently or properly apply brakes;

               (d)     Failure to take proper evasive action to avoid a collision;

               (e)     Failure to maintain an assured clear distance between the vehicles;

               (f)     Traveling at a rate of speed that was excessive under the circumstances
                       and conditions prevailing at the time of the collision; and

               (g)     Driver inattention.

        7.     As the direct and proximate result of the unknown driver's negligence, Plaintiff was

injured. As the result of the unknown driver's negligence, Plaintiff has suffered pain, mental

anguish, physical impairment, and a diminished capacity to pursue normal activities. Plaintiff's pain

and suffering has continued since the date of the collision and will, in all probability, continue into

the future.

        8.      Plaintiff received reasonable and necessary medical treatment and health care for the

injuries she suffered in the collision and will likely continue to receive treatment in the future. As

the result of the unknown driver's negligence, Plaintiff has incurred fair, reasonable, usual, and

customary medical and health-care expenses for that treatment, and will likely incur additional

medical expenses in the future.




Plaintiff's Original Petition - Page 2
    Case 3:17-cv-00031-N Document 1-3 Filed 01/04/17                   Page 7 of 20 PageID 15


                         CLAIM FOR UNDERINSURED BENEFITS
       9.      On January 19, 2016, the date of the accident, Plaintiff Janice Woods was covered

by insurance issued by Arnica Mutual Insurance Company. This policy included coverage for

uninsured motorists. Plaintiff Janice Woods is a valid "covered person" under this policy.

       10.     Defendant was timely informed of the accident and that Plaintiff intended to claim

under the unnsured benefits.

       11.     The driver responsible for this collision is uninsured and therefore liability coverage

is insufficient. The injuries sustained by Plaintiff were not the result of intentional acts, but were

accidental and caused by the negligence of the unknown driver. Plaintiffhereby seeks recovery for

her injuries under uninsured coverage.




Plaintiff s Original Petition - Page 3
     Case 3:17-cv-00031-N Document 1-3 Filed 01/04/17                  Page 8 of 20 PageID 16


                                                PRAYER
        WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that Arnica Mutual Insurance

Company be duly cited to appear and answer herein and that, upon final trial hereof, Plaintiff

recovers judgment against Defendant for her damages as set forth above; pre-judgment and post-

judgment interest; costs of Court; and such other and further relief to which she may show herself

justly entitled, whether at law or in equity.

                                                        Respectfully submitted,

                                                        BEST, WATSON & GILBERT, P.C.
                                                        870 W. I-30, Suite 100
                                                        Garland, Texas 75043
                                                        prw. watson(l:[!yahoo.com
                                                        (214) 528-6060
                                                        (214) 528-0712 [Telecopier]



                                                  By:   CMJD
                                                        Patnck R. Watson
                                                        State Bar No. 00797633

                                                        ATTORNEYS FOR PLAINTIFF




Plaintiff's Original Petition- Page 4
                                                                                                                                                                                     FILED


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                          Case 3:17-cv-00031-N Document 1-3 Filed 01/04/17                       m;;T(ro~~VS£ONLY):
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                                                                                                                                                                           COUNTY CLERK
                                                                                                                                                                          DALLAS COUNTY

A civil case information sheet must be compl=ci and Sllbmitll:d vmec 111 origiolll petition or application is .filed to iaitiate a ivil. family law, probate, or mental
health case or when a post-judgment petition fur modification or motion fur enforcemcnt is filed in a family law case. The informati011 sbDUid be the best available at
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                                                                                                                            AdciitiollBI Parties in Child Support Case:

                                                                                Defcndant(s)~s:);                           Custodial Parmt:


                                                                                -               D!t__j@__\:r'@(dKb
                                                                                                                . Non-Custodial Parent:
                                                                                                                            PR.S~~D~ed Flllher:




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                                 Case 3:17-cv-00031-N Document 1-3 Filed 01/04/17                             Page 10 of 20 PageID 18
                                                                                                                                                             ATTORNEY
                                 THE STATE OF TEXAS                                                                                                          CITATION
                                     CITATION
                                   CAUSE NO. CC-16-05879-A                                                                                              CC-16-05879,A
                                 COUNTY COURT AT LAW NO. 1
                                      Dallas County, Texas                                                                      fN THE COUNTY COURT OF DALLAS
                                                                                                                                                 County Court at Law No. 1
TO:                                                                                                                                               Dallas County, Texas
        AMICA MUTUAL INSURANCE COMPANY
        SERVE ITS REG AGENT ROBERT R FOSS JR
                                                                                                                                             JANICE WOODS, Plaintijf(s)
        2150 TOWN SQUARE PLACE SUITE 600
        SUGAR LAND TX 77479-1465
                                                                                                                                                                         vs.
      "You have been sued. You may employ an attorney. If you or your Attorney do not file a WRJTTEN ANSWER with
                                                                                                                                         AMICA MUTUAL INSURANCE
      the clerk who issued this citation by I 0:00 A.M. on the Monday next following the expiration of twenty days after you
                                                                                                                                           COMPANY, Defendant(s)
      were served this citation and Petition, a default judgment may be taken against you." Your answer should be addressed
      to the clerk of County Court at Law No. I of Dallas County, Texas at the Court House of said County, 600 Commerce
      Street, Suite 101 , Dallas, Texas 75202.                                                                                 SERVE:
                                                                                                                                   AMICA MUTUAL INSURANCE
                                                                                                                                            COMPANY
                                                                                                                                       SERVE ITS REG AGENT
                                                 JANICE WOODS                                                                            ROBERT R FOSS JR
                                                    Plaintiff(s)                                                                 2150 TOWN SQUARE PLACE SUITE
                                                                                                                                                                         600
                                                       vs.                                                                                SUGAR LAND TX 77479-1465

                                  AMICA MUTUAL INSURANCE COMPANY                                                                               ISSUED THIS
                                            DefendOJit(s)                                                                               1ST DAY OF DECEMBER, 2016

      filed in said Court on the 2 1st day of November, 20 l6a copy of which accompanies this citation.                              JOHN F. WARREN, COUNTY CLERK
                                                                                                                                     BY: GUISLA HERNANDEZ, DEPUTY
      WITNESS: JOHN F. WARREN, C lerk o f the County Courts of Dallas County, Texas. G lVEN UNDER MY
      HAND AND SEAL OF OFFICE, at Dallas, Texas, and issued this 1st day of December, 2016 A.D.                                                      Attorney for Plaintiff
                                                                                                                                                    PATRJCK R WATSON
      JOHN F. WARREN, Dallas County C lerk                                                                                                                870 w 1-30
                                                                                                                                                          SUITE 100
                                                                                                                                                    GARLAND TX 75043
                                                                                                                                                        2 14-528-6060

       By   ti~l/~~                     Deputy
                                                                                        CC -16- 06879- A
               Guisla Hernandez
                                                                                        CICI
                                                                                        ISSUE CITATION                               .·· · ,.Jr··~·· g, ;-~;tS   :··t:E:; tt!::.VF tstrl:~\L
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                                    Case 3:17-cv-00031-N Document 1-3 Filed 01/04/17                 Page 11 of 20 PageID 19

                                                                           OFFICER'S RETURN

CC-16-05879-A County Court at Law No. I

JANICE WOODS vs. AMICA MUTUAL fNSURANCE COMPANY

ADDRESS FOR SERVICE:
SERVE ITS REG AGENT ROBERT R FOSS JR
2 150 TOW'N SQUARE PLACE SUITE 600
SUGAR LANDTX 77479-1465

Fees:
Came to hand on the _ _day of           , 20          , at       o'clock        .m., and executed in                 County, Texas by delivering to AMICA
MUTUAL INSURANCE COMPANY in person, a true copy of this Citation together with the accompanying copy of the Petition with the date and service at the following
times and places to-wit:

Name                                                     Dateffime                         Place, Course and Distance from Courthouse



And not executed as to the defendant(s), - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

The diligence used in finding said defendant(s) being:


and the cause or failure to execute this process is:


and the information received as to the whereabouts of said defendant(s) being:


                                               Serving Petition and Copy         $_ _ __
                                                                                           --------------------, Officer
                                               Total     $-                                _ _ _ _ __ _ _ __ _ _,Councy, Texas
                                                              ---
                                                                                           By:_ _ _ _ _ _ _ __ _ _ _, Depucy

                                                                                           - -- -- - - - - - - - - -'Affiant
                                                                                                                                                                            FILED
                                                                                                                                                            12/13/2016 2:47:42 PM
                                                                                                                                                                JOHN F. WARREN
                               Case 3:17-cv-00031-N Document 1-3 Filed 01/04/17                          Page 12 of 20 PageID 20                                  COUNTY CLERK
                                                                                                                                                                 DALLAS COUNTY
                                                                                                                                          ATTORNEY
                                THE STATE OF TEXAS                                                                                        CITATION
                                    CITATION
                                  CAUSE NO. CC-16-05879-A                                                                               CC-16-05879-A
                                COUNTY COURT AT LAW NO. I
                                     Dallas County, Texas                                                                      IN THE COUNTY COURT OF DALLAS
                                                                                                                                     County Court at Law No. 1
TO:                                                                                                                                  Dallas County, Texas
        AMICA MUTUAL INSURANCE COMPANY
        SERVE ITS REG AGENT ROBERT R FOSS JR
                                                                                                                                   JANICE WOODS, Plaintiff(s)
        2150 TOWN SQUARE PLACE SUITE 600
        SUGAR LAND TX 77479-1465
                                                                                                                                               vs.
      "You have been sued. You may employ an attorney. If you or your Attorney do not file a WRJTTEN ANSWER with
                                                                                                                                  AMJCA MUTUAL INSURANCE
      the clerk who issued this citation by I 0:00 A.M. on the Monday next following the expiration of twenty days after you
                                                                                                                                    COMPANY, Defendant(s)
      were served this citation and Petition, a default judgment may be taken against you." Your answer should be addressed
      to the clerk of County Court at Law No. I of Dallas County, Texas at the Court House of said County, 600 Commerce
      Street, Suite 101, Dallas, Texas 75202.                                                                                  SERVE:
                                                                                                                                  AMICA MUTUAL INSURANCE
                                                                                                                                           COMPANY
                                                                                                                                      SERVE ITS REG AGENT
                                                JANICE WOODS                                                                            ROBERT R FOSS JR
                                                   Plainlif/M                                                                   2150 TOWN SQUARE PLACE SUITE
                                                                                                                                               600
                                                      vs.                                                                          SUGAR LAND TX 77479-1465

                                 AMICA MUTUAL INSURANCE COMPANY                                                                          ISSUED THIS
                                            Defendant(s)                                                                          1ST DAY OF DECEMBER, 2016

      filed in said Court on the 21st day of November, 2016a copy of which accompanies this citation.                           JOHN F. WARREN, COUNTY CLERK
                                                                                                                                BY: GU!SLA HERNANDEZ, DEPUTY
      WITNESS: JOHN F. WARREN, Clerk of the County Courts of Dallas County, Texas. GIVEN UNDER MY
      HAND AND SEAL OF OFFICE, at Dallas, Texas, and issued this lst day of December, 2016 A.D.                                        Attorney for Plaintiff
                                                                                                                                      PATRJCKR WATSON
      JOHN F. WARREN, Dallas County Clerk                                                                                                   870 W I-30
                                                                                                                                            SUITE !00
                                                                                                                                      GARLAND TX 75043
                                                                                                                                          214-528-6060

       By   lfftu4/.t 1~~, Deputy
              Guisla Hernandez
         Case 3:17-cv-00031-N Document 1-3 Filed 01/04/17                        Page 13 of 20 PageID 21
                                  IN THE COUNTY COURT AT LAW NUMBER ONE
                                            DALLAS COUNTY, TEXAS

                                             CAUSE NO. CC-16-0S879-A


                                                   JANICE WOODS
                                                           vs
                                        AMICA MUTUAL INSURANCE COMPANY


                                           AFFIDAVIT OF RETURN

Came to my hand: 12/06/2016, at 07:08 o'clock A.M., the following specified documents:

    •   Citation
    •   Plaintiff's Original Petition
    •   Plaintiff's Request For Disclosure, First Set Of Written Interrogatories, Request For Production and
        Request For Admissions To Defendant

and executed by me on 12/06/2016 at 10:20 o'clock, A.M., at, 21SO TOWN SQUARE PLACE SUITE 600, SUGAR
LAND, TX 77479 within the county of FORT BEND, by delivering to AMICA MUTUAL INSURANCE COMPANY
SERVE ITS REG AGENT ROBERT R FOSS JR in person, a true copy of the above specified Citation/Petition.




I am over the age of 18, not a party to nor interested in the outcome of the above style and numbered suit: and I certify
that the facts of service reported herein are true and correct.




                                                                Authorized Person: Ernest D. Brown SCH# 11524
                                                                Expiration Date: 06/30/2018
                                                                BROWN, E. & ASSOCIATES
                                                                20825 Southwest Freeway #111, Sugar land, TX 77479

STATE OF TEXAS)

                                                     VERIFICATION

Before me, a notary public, on this day personally appeared the above named Authorized person, known to me to be
the person whose name is subscribed to the foregoing documents and, being by me first duly sworn, declared that the
statements/fact therein contained are within h~~er personal ~edge
under my hand and seal of office on this the   Y day of
                                                                           a"h
                                                                           exp!)rience to be true and correct. Given
                                                                      :revv14f             ,
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                                                                                                                FILED
                                                                                               12/21/2016 11:08:33 AM
                                                                                                    JOHN F. WARREN
   Case 3:17-cv-00031-N Document 1-3 Filed 01/04/17                Page 14 of 20 PageID       22      COUNTY CLERK
                                                                                                     DALLAS COUNTY




AMI.23218

                                 CAUSE NO. CC-16-05879-A

JANICE WOODS                                    §           IN THE COUNTY COURT
         Plaintiff,                             §
                                                §
vs.                                             §           ATLAWNO.l
                                                §
AMICA MUTUAL INSURANCE                          §
COMPANY                                         §
         Defendant.                             §           DALLAS COUNTY, TEXAS

                           DEFENDANT'S ORIGINAL ANSWER

TO THE HONORABLE JUDGE OF SAID COURT:

       NOW COMES Arnica Mutual Insurance Company, Defendant in the above-entitled and

numbered cause, and files this its Original Answer to Plaintiffs pleadings on file herein, and in

support thereof would respectfully shows the Court as follows:

                                               I.

       Pursuant to Rule 92 of the TEXAS RULES OF CIVIL PROCEDURE, Defendant denies

generally each and every allegation and statement contained in Plaintiff's Original Petition, and

any amendments thereto, and demands strict proof thereof.

                                               II.

       For further answer, Defendant specifically denies that all conditions precedent to

recovery have been met.

                                              III.

       For further answer, if necessary, Defendant would show that Plaintiffs claims are

controlled and limited by the Texas Supreme Court's holding in Brainard v. Trinity Universal

Insurance Company, 216 S.W.3d 809 (Tex. 2006) and subsequent cases.




DEFENDANT'S ORIGINAL ANSWER                                                               Page 1
   Case 3:17-cv-00031-N Document 1-3 Filed 01/04/17                  Page 15 of 20 PageID 23



                                                IV.

       For further answer, Defendant affirmatively asserts and pleads the defense of

contributory negligence/comparative responsibility.      Defendant would further show that the

negligence of a non-party, Maria Prado, who failed to maintain an assured safe distance between

vehicles and was traveling at an unsafe speed, was the proximate cause of the accident in
                                           '
question and Plaintiffs injuries and damages, if any. As such, she is a responsible third party

whose negligence should be submitted to the trier of fact.

                                                v.
       For further answer, Defendant invokes the provisions of Section 41.0105 of the TEXAS

CIVIL PRACTICE AND REMEDIES CODE limiting Plaintiffs recovery of medical or healthcare

expenses to the amount actually paid or incurred. Further, pursuant to Section 18.091 of the

TEXAS CIVIL PRACTICE AND REMEDIES CODE, any evidence of economic loss, including lost

wages, loss of earning capacity and a loss of contributions of a pecuniary value, must be in a

form of a net loss after reduction for federal income tax payments or unpaid tax liability.

                                                VI.

       Defendant further pleads that it is entitled to all off-sets and credits against damages as

may be allowed by the subject insurance policy and/or applicable law.

                                          Jury Demand

       Defendant hereby, in accordance with Rule 216 of the TEXAS RULES OF CIVIL

PROCEDURE, demands a trial by jury. Simultaneously with the filing of this demand, a jury fee is

being paid on behalf of Defendant.




DEFENDANT'S ORIGINAL ANSWER                                                                   Page2
   Case 3:17-cv-00031-N Document 1-3 Filed 01/04/17                 Page 16 of 20 PageID 24



       WHEREFORE, PREMISES CONSIDERED, Defendant respectfully prays that Plaintiff

take nothing by this suit, that Defendant recover its costs, and for such other and further relief,

both at law and in equity, to which Defendant may be justly entitled.

                                             Respectfully submitted,

                                             FLETCHER, FARLEY,
                                             SHIPMAN & SALINAS, L.L.P.


                                       By:    Is/ Paul W. Bennett
                                             PAUL W. BENNETT
                                             State Bar No. 00787071
                                             paul. bennett@fletcherfarley .com
                                             ALEXJ.BELL
                                             State Bar No. 24069359
                                             alex. bell@fletcherfarley .com
                                             9201 N. Central Expwy., 6th Floor
                                             Dallas, Texas 75231
                                             214-987-9600 (telephone)
                                             214-987-9866 (facsimile)

                                             ATTORNEYSFORDEFENDANT



                                CERTIFICATE OF SERVICE

        This will certify that a true and correct copy of the foregoing instrument has been mailed,
telecopied, electronically served, or hand delivered to all attorneys of record in this cause of
action on the 22nd day of December, 2016.


                                              Is/ Paul W. Bennett
                                             PAUL W. BENNETT




DEFENDANT'S ORIGINAL ANSWER                                                                 Page3
   Case 3:17-cv-00031-N Document 1-3 Filed 01/04/17                Page 17 of 20 PageID 25



                                       VERIFICATION

THE STATE OF TEXAS           )
                             )
COUNTY OF DALLAS             )

        BEFORE ME, the undersigned Notary Public, on this day personally appeared PAUL
W. BENNETT, who being by me duly sworn on his oath deposed and said that he is the attorney
of record for the Defendant, and that he is duly qualified and authorized in all respects to make
this Affidavit; that he has read Paragraphs II and III of the above and foregoing Defendant's
Original Answer; and that every statement contained therein is within his knowledge and is true
and correct.



                                            PAUL W. BENNETT

        SWORN TO AND SUBSCRIBED BEFORE ME on this the 21 51 day of December,
2016, to certify which witness my hand and seal of office.



                                            NOTARY PUBLIC IN AND FOR
                                            THE STATE OF TEXAS




My Commission Expires:




DEFENDANT'S ORIGINAL ANSWER                                                               Page4
                                                                                                                 FILED
                                                                                                  1/4/2017 11:39:31 AM
                                                                                                     JOHN F. WARREN
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                                                                                                      DALLAS COUNTY



AMI.23218

                                   CAUSE NO. CC-16-05879-A

JANICE WOODS                                       §           IN THE COUNTY COURT
         Plaintiff,                                §
                                                   §
VS.                                                §           AT LAW NO. 1
                                                   §
AMICA MUTUAL INSURANCE                             §
COMPANY                                            §
         Defendant.                                §           DALLAS COUNTY, TEXAS

                           DEFENDANT’S MOTION FOR LEAVE
                       TO DESIGNATE RESPONSIBLE THIRD PARTY

TO THE HONORABLE JUDGE OF SAID COURT:

          NOW COMES AMICA MUTUAL INSURANCE COMPANY, Defendant, and files

this Motion for Leave to Designate a Responsible Third Party and for the same would

respectfully show unto the Court as follows:

                                          A. Introduction

          This case arises out of a motor vehicle accident occurring on or about January 19, 2016 in

Dallas.     Plaintiff sued Defendant alleging that a vehicle, operated by some unknown and

uninsured motorist, struck a vehicle behind Plaintiff causing it to be pushed into the vehicle

operated by Plaintiff. Defendant denies such allegations.

          This case is not currently set for trial, and Defendant files this motion at least 60 days

before the date set for trial.
                                              B. Facts

          In Plaintiff’s Original Petition, she alleges that she was traveling northbound on Noel

Road in Dallas on January 19, 2016 when “Maria De Los Angeles Prado, traveling immediately

behind Plaintiff was struck in the rear by an uknown vehicle,” causing Ms. Prado’s car to collide

with the rear of Plaintiff’s vehicle. Plaintiff contends that the accident occurred and that she

sustained injuries and damages as a proximate result of the negligence of the unknown and

uninsured driver. Plaintiff contends that she is entitled to uninsured motorist benefits per a


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policy of insurance issued by Defendant. Defendant denies all such allegations. Defendant

would show that the accident and Plaintiff’s injuries and damages, if any, were proximately

caused by the negligence of of Maria De Los Angeles Prado who, among other things, failed to

keep a safe distance between her car and Plaintiff’s car, failed to timely apply her brakes, and

who was traveling at an unsafe speed. Further, Defendant would show that Maria De Los

Angeles Prado was not an uninsured motorist; to wit, on information and belief she was insured

under a liability policy issued by Infinity County Mutual Insurance Company.

                                   C. Argument & Authorities
          Defendant would show that Maria De Los Angeles Prado is a responsible third party

within the meaning of Texas Civil Practice & Remedies Code section 33.011(6) because she

caused or contributed to Plaintiff’s harm for which recovery of damages is sought.                 Her

responsibility should be submitted to the trier of fact. Defendant respectfully moves the Court to

designate Maria De Los Angeles Prado as a responsible third party and submit her responsibility

to the trier of fact at trial.

                                              D. Prayer

          WHEREFORE, PREMISES CONSIDERED, Defendant prays that the Court grant this

Motion and enter an Order designating Maria De Los Angeles Prado as a responsible third party,

as that term is defined in the Texas Civil Practice and Remedies Code, that her responsibility be

submitted to the trier of fact at the trial of this cause, and for all other relief to which it may show

itself justly entitled.




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                                      Respectfully submitted,

                                      FLETCHER, FARLEY,
                                      SHIPMAN & SALINAS, L.L.P.


                                BY: /s/ Paul W. Bennett
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                                      ATTORNEYS FOR DEFENDANT



                                CERTIFICATE OF SERVICE

       This is to certify that a true and correct copy of the foregoing instrument has been mailed,
telecopied, electronically served or hand delivered to all attornes of record, in compliance with
Rule 21a. of the Texas Rules of Civil Procedure, on this the 4th day of January, 2017.


                                             /s/ Paul W. Bennett
                                             PAUL W. BENNETT




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